Case 2:21-mc-00299-UA Document1 Filed 03/09/21 Pageiof8s8 Page ID#:1

AO 451 (Rev. 12/12) Clerk’s Certification of a Judgment to be Registered in Another District

UNITED STATES DISTRICT COURT

for the
Western District of North Carolina

Matthew E. Orso

Plaintiff
Vv

. Civil Action No. 3:14-cv-00091-GCM
Todd Disner, et al

ee we

Defendant

CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

I certify that the attached judgment is a copy of a judgment entered by this court on (date) 08/14/2017
| also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending

before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer
pending.

Date: 04/06/2020

CLERK OF COURT
F ,

i POR Ss

Signature of Clerk or Deputy Clerk
Case 2:21-mc-00299-UA Document1 Filed 03/09/21 Page 2of8 Page ID#:2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION

KENNETH D. BELL, in his capacity as court-
appointed Receiver for Rex Venture Group,
LLC d/b/a ZeekRewards.com,

Plaintiff,

VS.

TODD DISNER, in his individual capacity and
in his capacity as trustee for Kestrel Spendthrift
Trust; TRUDY GILMOND; TRUDY
GILMOND, LLC; JERRY NAPIER; DARREN
MILLER; RHONDA GATES; DAVID
SORRELLS; INNOVATION MARKETING,
LLC; AARON ANDREWS; SHARA
ANDREWS; GLOBAL INTERNET
FORMULA, INC.; T. LEMONT SILVER;
KAREN SILVER; MICHAEL VAN
LEEUWEN; DURANT BROCKETT; DAVID
KETTNER; MARY KETTNER; P.A.W.S.
CAPITAL MANAGEMENT LLC; LORI JEAN
WEBER; and a Defendant Class of Net Winners
in ZEEKREWARDS.COM;

No. 3:14-cv-91

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WesternaD
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Defendants.

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FINAL JUDGMENT
In accordance with the Court’s Order Granting Entry of Final Judgment Against Certain
Net Winner Class Members, Final Judgment is hereby entered against each of the class members
listed on the following single page attachments in the amounts listed therein, which are comprised
of net winnings from the ZeekRewards scheme and prejudgment interest, calculated at the North
Carolina statutory rate of 8% per annum from August 17, 2012, which is on or after the date of the
last fraudulent transfer payment on which liability is based, to November 29, 2016, the date of the

Summary Judgment Order in this action. See N.C. Gen. Stat. § 24-4, 5 (2001); Doc. #142. An

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index of the individual class members and the amount of the Judgments against them is also
attached,

Post-judgment interest shall accrue on the entire Final Judgment, including the award of
prejudgment interest, at the rate specified under 28 U.S.C. § 1961 from the date of entry of this
Judgment until paid in full.

The Court confirms each amount listed in the attachments is the Final Judgment of the
Court against each respective Defendant and hereby authorizes the Receiver to pursue appropriate
collection procdedings.

SO ORDERED.

Signed: August 14, 2017

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Graham C. Mullen
United States District Judge

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BELL v. DISNER, Case No. 3:14-cy-91

FINAL JUDGMENT

In accordance with the Court’s Order Granting Entry of Final Judgment Against Certain
Net Winner Class Members, Final Judgment is hereby entered against
Defendant CHARLES FLEMING in the amount of $2,912.16 which is comprised of
$2,168.48 in net winnings from the ZeekRewards scheme and $743.68 in prejudgment
interest. Post-judgment interest shall accrue on the total amount of this Judgment,

including prejudgment interest, at the rate specified under 28 U.S.C. § 1961 from the

date of entry of this Judgment until paid in full.

Certified to be a true and
correct copy of the original

U.S. District Court
Frank G, Johns, Clerk

Western District of N.C,
By: Wherpedes Goucher

Deputy Clerk
Date 4edbe

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION

)

__ MATTHEW. ORSO, inhis‘capacityaséontt- =) a

pm zppointed Receiver for Rex Venture Group; =) SO

’ Trust; TRUDY GILMOND; TRUDY

_ LEEUWEN; DURANT BRO CKETT; DAVID

LLC Wbia ZeekRewards.coni, ~~" )
. Plaintiff,
YS.

TODD DISNER, in his individual capacity and
in his capacity as trustee for Kestrel Spendthrift
No. 3:14-cv-91
GILMOND, LLC; JERRY NAPIER; DARREN
MILLER; RHONDA GATES; DAVID
SORRELLS; INNOVATION MARKETING,
LLC; AARON ANDREWS; SHARA
ANDREWS; GLOBAT. INTERNET
FORMULA, INC,; T, LEMONT SILVER;
KAREN SILVER; MICHAEL, VAN

KETTNER; MARY KETINER; P,A.W.S.
CAPITAL MANAGEMENT LLC; LORI JEAN
WEBER; and a Defendant Class of N, et Winners *
in ZEEKREWARDS,COM;

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Nee Oe ee es es es lee eee eae es ees

Defendants

Se ce’) ASSIGNMENT OR JUDGMENT. ooo sec cece

This ASSIGNMENT OF JUDGMENT (this “Assignment”) is made as fn the I et ome
December, 2019, by Matthew E, Orso, solely in his capacity 2s oe ee sat Recovery
Venture Group, LLC d/b/a ZeekRewards.com, (“Assignor”) to Nationwide Judgm :

Inc, (as the designee of Big Sky Research Buteau, Inc. the: SE ey al .
furthetancé of, the atrangéiients provided or and in that certain Purchase Agr

- between Assignor and Assignee, dated as of May 30, 2019, as amended (collectively, ws

“Agreement”),
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sdatege QOS

NOW THEREFORE, based on the foregoing and for valuable consideration, the receipt

_ and sufficiency of which are hereby acknowledged, Assignor hereby sells, transfers ind assigns
to Assignee, in respect of the above captioned proceedings, all rights and interests of Assignor in
and to those certain Judgments entered in the above referenced action at docket number 179,
including each of the individual judgments referenced on docket number 179-2, without
Tecoutse, representation or-warranty,exceptas provided forintheAgreemem., |.

~~ THE SALES “TRANSEERS_AND ASSIGNMENIS PROVIDED FOREN A ———-
EXPRESSLY SUBJECT, IN ALL RESPECTS, TO THE. TERMS AND PROVISIONS OF THE
AGREEMENT, WHICH ARE INCORPORATED HEREIN BY THIS REFERENCE.

This Assignment shall be govemed by, and construed in accordance with, the laws of the
State of North Carolina.

IN WITNESS WHEREOF, Assignor has executed this Assignment effective as of

December 16, 2019.
Assignor: .
Baa Da

Matthew E, Orso, not individually, but solely in his
capacity es court-appointed Receiver for Rex Venture
Group, LLC dba ZeekRewards.com and its Estate

STATE OF oot Casalyinn

COUNTY OF M\ ted exlours

Toertity thet the following person(s) personally appeared before me this day, each
ackng ledging to me that he or she signed the foregoing document:
AOYTQD.

(name(s) of principal(s))
Date: \eCé woer \L 014 Oe GC, Gout,

Kan Cantley

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" “My commission expires_

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EXHIBIT 1

BILL OF SALE AND ASSIGNMENT

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SoS Bin ene —MatthewE- Orso;solely inhis capacity as woureppointed Receiver forRex Venture Group-LLG —

nie ZeckRewardscom (ASIRE) and notin his personel cqpactyy, for good and values
consideration, the receipt of which is hereby acknowledged, and pursuant to the terms of the
Purchase Agresment dated May 30, 2019 does assign, sell, transfer, convey, and set over to
Nationwide Judgment Recovery, Inc. (“Assignes") and fis successors and assigns, all of
Assignor's rights, title end interest in end to certain recelvables (the “Subject Judgments’) Such
Subject Judgments are described in the attached Schedule 1.

Dated this 16th day of December, 2019

Matthew E. Orso, Esq.
McGuireWoods, LLP

Ss

Matthew, Orso, Esq, “—~
Court-appdinted Receiver for:
Rex Venture Group, LLC dba ZeekRewards.com

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SCHEDULE 1

1) Excel Worksheet and/or Compact disk delivered by Seller/Assignor and accepted by
Buyer/Assignes,

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referenced above,
